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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

       NOACH NEWMAN, ADIN GESS, and
       NATALIE SANANDAJI,
                                                        Case No.: 1:24-cv-20684-KMM
            Plaintiffs,

            v.

       THE ASSOCIATED PRESS,

            Defendant.


                     PLAINTIFFS’ OPPOSITION TO DEFENDANT’S
                  MOTION TO DISMISS SECOND AMENDED COMPLAINT1




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     Plaintiffs redacted references to documents that were designated confidential under the Protective
   Order (D.E. 66). Plaintiffs will file a motion for leave to file under seal the unredacted version of
   this Opposition.
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          Plaintiffs Noach Newman, Adin Gess, and Natalie Sanandaji (collectively, “Plaintiffs”),

   by and through undersigned counsel, file this Opposition to Defendant The Associated Press’s (the

   “AP”) Motion to Dismiss Second Amended Complaint (“SAC”) [D.E. 109] and Incorporated

   Memorandum of Law (the “Motion”), and in support thereof state as follows:

                                          INTRODUCTION

          The SAC’s allegations differ from the allegations of the Amended Complaint in several

   critical ways. First, the SAC incorporates four pivotal exhibits which establish that the AP knew

   the photographers in question were members of Hamas. These exhibits also confirm



                     . Furthermore, the evidence demonstrates that Eslaiah had been working with

   the AP for such an extended period, and with such frequency, that he was considered a “full-time”

   employee. This is far greater than the “general awareness” required to allege aiding and abetting.

   Second, the SAC incorporates statements from former AP employee Matti Friedman, who

   describes the AP’s longstanding, tacit arrangement with Hamas. According to Friedman, the AP

   functions as a key component of Hamas’ propaganda machine, in exchange for privileged access

   while reporting from Gaza. Third, the SAC incorporates the Expert Report of Lara Burns (“Burns

   Report”), Head of Terrorism Research at George Washington University’s Program on Extremism.

   See SAC, Ex. Q [D.E. 99-17]. The Burns Report provides a detailed analysis of Hamas’s

   longstanding use of media as a tool for propaganda and recruitment. It explains how Hamas, in

   line with its Covenant (which is publicly available), strategically places operatives in key press

   positions to amplify its ideology and garner support for its terrorist activities. The Burns Report

   further details how Hamas deploys operatives disguised as journalists, using cameras as tools to

   advance its objectives. This analysis supports the assertion that AP’s employment of these




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   photographers, and its dissemination of their images, constitute material support to Hamas. Under

   the Justice Against Sponsors of Terrorism Act (“JASTA”), material support is not limited to

   financial aid or arms—propaganda, too, can be material support.

          Yet the AP continues to weave a narrative that ignores these changes addressing the Court’s

   concerns, betraying – intentionally or not – a fundamental misunderstanding of what this case is

   about. The Court should not take the bait. The AP analogizes this case to one in which someone

   purchases groceries from a shopkeeper who just so happens to sympathize with Hamas. See D.E.

   52, p. 3. The AP believes that this analogy still holds despite the SAC’s allegations, arguing that

   this was merely an innocent arms’-length transaction. See Motion (“Mot.”), p. 19. Yes, the AP

   concedes, the photographs were horrifying, and yes, the photographers (the “Hamas

   Photographers”) may have been Hamas sympathizers, but they were just doing a job, and

   sometimes – especially in war – lines may (innocently) blur. But the AP is setting up a strawman

   for a case that was not alleged.

          Here, the Hamas Photographers were not mere “conduits” to Hamas. This is not akin, as

   the AP would have this Court believe, to someone who happens to be a supporter of an unsavory

   organization while performing a perfectly lawful activity. The Hamas Photographers, that the AP

   knowingly paid for years, are members of a terrorist organization, and the AP knows it. See SAC,

   ¶¶ 4, 8, 9, 11, 15, 50, 58, 63, 102-105. They are not just Hamas fans – they are Hamas. See id., ¶¶

   4 (“These photojournalists are known Hamas members who were gleefully embedded with the

   Hamas terrorists during the October 7th attacks, and who regularly worked for AP”), 7-9, 11, 13,

   15, 49, 54, 58-59, 96, 105. And the Hamas Photographers were not paid for selling oranges at the

   market. They were paid for illegally entering Israel, and to create and disseminate the propaganda

   that is one of the core pillars of Hamas’s strategy. The AP flippantly brushes aside the Burns




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   Report, which explains the relationship between this propaganda and terrorist acts, jihad, and

   religious war. Terrorist organizations need their propagandists, just as they need their killers, their

   munitions experts, their politicians, and their financiers. This propaganda serves a very specific

   purpose: inflict pain, sow terror, and destabilize an American ally. The SAC alleges that the AP

   enabled these Hamas Photographers to consummate their jihad and gave them the additional

   benefit of invading Israel under a veneer of journalism. Knowing that their benefactor (the AP)

   would pay them thousands of dollars for their photographs under the guise of “wartime

   journalism,” the Hamas Photographers crossed into Israel, joined throngs of armed terrorists

   swarming the kibbutzim (Israeli communal villages), and directly contributed to the chaos and

   terror inflicted on thousands of Israelis. This is what terrorists do.

           It is plain – and the SAC alleges – that the AP facilitated terrorism by paying members of

   Hamas significant sums over a significant period of time so that these photographers could play

   their part in the jihad that would culminate in Israel’s destruction: “The effective word, the good

   article, the useful book, support and solidarity – together with the presence of sincere purpose for

   the hoisting of Allah’s banner higher and higher – all of these elements of the jihad for Allah’s

   sake.” Burns Report, p. 7.

                                      MEMORANDUM OF LAW

     I.    LEGAL STANDARD

           When considering a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), the

   court must accept all factual allegations as true and view them in a light most favorable to the

   plaintiff. Certain Underwriters at Lloyds of London v. Scents Corps., 2023 WL 2664260, at *3

   (S.D. Fla. Feb. 16, 2023) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).




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          A motion to dismiss should be denied where a complaint “contain[s] sufficient factual

   matter, accepted as true, to state a claim to relief that is plausible on its face.” Iqbal, 556 U.S. at

   678 (internal citation omitted). “A claim has facial plausibility when the plaintiff pleads factual

   content that allows the court to draw the reasonable inference that the defendant is liable for the

   misconduct alleged.” Id.

    II.   ARGUMENT

          Plaintiffs sufficiently pled claims for aiding and abetting, providing material support to

   Hamas, and facilitating and furthering terrorism under the Antiterrorism Act, 18 U.S.C. § 2333

   (“ATA”), as amended by JASTA, Pub. L. No. 114-222 (2016) and Florida Statute § 772.13(1).

              A. The SAC sufficiently alleges a claim for aiding and abetting under ATA and
                 JASTA (Count I).

          Congress enacted JASTA “to provide civil litigants with the broadest possible basis to

   seek relief against those who have provided material support, directly or indirectly, to foreign

   organizations or persons that engage in terrorist activities against the United States.” Estate of

   Henkin v. Kuveyt Turk Katilim Bankasi, A.S., 495 F. Supp. 3d 144, 154 (E.D.N.Y. 2020); see

   Antiterrorism Act of 1990: Hearing on S. 2465 Before the Subcomm. on Courts and Admin.

   Practice, 101st Cong. 136–37 (1992) (statement of Joseph A. Morris, former general counsel of

   the U.S. Information Agency and the U.S. Office of Personnel Management) (“I think that the bill

   as drafted is powerfully broad, and its intention, as I read it, is to bring focus on the problem of

   terrorism and, reaching behind the terrorist actors to those who fund and guide and harbor them,

   bring all of the substantive law of the American tort law system”); Wultz v. Islamic Republic of

   Iran, 755 F. Supp. 2d 1, 56 (D.D.C. 2010) (“Failure to honor that intent would thwart Congress’s

   clearly expressed intent to cut off the flow of money to terrorists at every point along the causal

   chain of violence”) (internal modifications omitted) (emphasis added).



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          Victims of terrorist acts may seek to recover from those who aided and abetted the terrorist

   act that injured them. The standard set forth in Halberstam v. Welch, 705 F.2d 472 (D.C. Cir.

   1983), for the elements of a claim for aiding and abetting under the ATA are:

          First, “the party whom the defendant aids must perform a wrongful act that causes
          an injury.” Second, “the defendant must be generally aware of his role as part of an
          overall illegal or tortious activity at the time that he provides the assistance.” And,
          third, “the defendant must knowingly and substantially assist the principal
          violation.”

   Id. at 486 (quoting Halberstam, 705 F.2d at 477) (internal citations omitted). Whether the third

   element is satisfied depends on: (1) the nature of the act assisted, (2) the amount of assistance

   provided, (3) the defendant’s presence or absence at the time of the tort, (4) the defendant’s relation

   to the principal tortious actor, (5) the defendant’s state of mind, and (6) the period of defendant’s

   assistance. See id. (citations omitted). The six factors should not be regarded “as a sequence of

   disparate, unrelated considerations without a common conceptual core;” instead, they are meant

   to “capture the essence of aiding and abetting: participation in another’s wrongdoing that is both

   significant and culpable enough to justify attributing the principal wrongdoing to the aider and

   abettor.” Zobay v. MTN Group Ltd., 695 F. Supp. 3d 301, 348 (E.D.N.Y. 2023) (citing Twitter,

   Inc. v. Taamneh, 598 U.S. 471, 504 (2023)).

          There is no dispute that Plaintiffs properly pled that Hamas performed a wrongful act that

   caused injury. The AP claims that Plaintiffs did not plead the second and third elements: whether

   the AP had “general awareness” that the Hamas Photographers participated in illegal or tortious

   activity, and that the AP gave “knowing and substantial assistance” to them. See Mot., p. 9.

                 i.   Plaintiffs allege that the AP had general awareness.

          Plaintiffs’ SAC sufficiently alleges that the AP had general awareness that it was playing

   a role in Hamas’ violent activities. The SAC alleges that the AP knew the Hamas Photographers




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   were members of Hamas. See SAC, ¶¶ 8-10, 14-15, 51-52, 55, 58-59, 63, 102. It alleges that the

   AP knew that the Hamas Photographers were unlawfully in Israel on October 7, perpetrating

   terrorist activities. See id., ¶¶ 8-10, 14-15, 51-52, 55, 58-59, 63, 68-91, 95-107. Of course, the mere

   fact that they were in Israel at all is illegal, just as it would be illegal for a photographer to

   accompany a burglar in a home invasion to memorialize his conspirators’ rape and murder of the

   homes’ occupants to satisfy a sadistic fetish. Here, the SAC goes one step further,



                                                                    See id., ¶ 53. And it alleges that the

   AP compensated these Hamas Photographers for their participation in these terrorist activities. See

   id., ¶¶ 8, 10-11, 14, 63, 91, 102, 104, 107, 112, 114, 126. If this does not “capture the essence of

   aiding and abetting,” it is hard to imagine a scenario that would. See Zobay, 695 F. Supp. 3d at

   348. The AP draws a false equivalency, which this Court erroneously accepted, to the activities of

   the Hamas Photographers here on one hand, and (quoting this Court) “simply documenting

   [terrorist acts] as unaffiliated journalists” on the other. See Mot., p. 12 (quoting Order [D.E. 98],

   p. 10). This analogy is repurposed later in the Motion, where the AP argues that “under Plaintiffs’

   theory, seemingly any image of an ongoing terrorist attack would constitute terrorist propaganda,

   making breaking news coverage impossible.” See Mot., p. 13.

          This raises the fundamental question of whether the law recognizes a distinction between

   paying a photographer who is (1) legally standing on Israeli land, independently and at arms-

   length recording events as they occur as part of his job, on one hand, and (2) paying a

   photographer to illegally enter the sovereign state of Israel, is a known member of Hamas, and

   who is gleefully recording his Hamas brethren’s rape of Israeli girls and torture of Israeli babies

   in furtherance of fulfilling his chance of salvation through jihad and in adherence to the Hamas




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   Covenant, on the other. The AP asks this Court to find there is no distinction. The Plaintiffs ask

   this Court to find that there is one.

            Ignoring the SAC’s allegations, the Motion takes pains to explain why



                           See Mot., pp. 9-10. But that is not the standard (although discovery will

   reveal                                                         ). “[A]lthough a defendant need not

   know of or intend to bring about the specific attacks at issue, the Complaint must allege plausibly

   that, . . . Defendants were ‘generally aware’ that they were thereby playing a ‘role’ in an FTO’s

   violent or life-endangering activities.” O'Sullivan v. Deutsche Bank AG, 2019 WL 1409446, at *10

   (S.D.N.Y. Mar. 28, 2019); see also Zobay, 695 F. Supp. 3d at 337 (same).

            As discussed above, the SAC is rife with allegations that the AP had direct knowledge that

   the Hamas Photographers were members of Hamas and that the “AP was informed by a watchdog

   organization that Hassan Eslaiah was affiliated with Hamas, promoted and glorified terrorism,

   called for people to commit acts of violence, celebrated murders, and was even officially working

   for a Hamas-affiliated news station.” See SAC, ¶ 58; see also id., Ex. F. This is not mere

   speculation. Exhibit F to the SAC contains correspondence between the AP and a watchdog group

   informing the AP five years ago that Eslaiah was a camera operator with Al-Quds TV, a Hamas-

   controlled media outlet. Id., Ex. F. See also id., Ex. B. The AP at least suspected in 2018 that

   Eslaiah worked for Al Quds TV,

   See id., ¶¶ 51-52. In 2020, Eslaiah proudly posted a photograph of the former head of Hamas

   kissing him – and the AP knew it. See id., ¶ 56. The AP shared an office building with Hamas in

   Gaza for years, fostering their close, symbiotic relationship in which favorable press coverage

   suppressing stories concerning Israel’s good deeds were buried while her misdeeds were amplified




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   in exchange for access and protection. See id., ¶ 14 (“AP officials have been public about the ways

   in which Hamas dictates its stories to the AP. The AP was further aware that its payments for

   content were going to agents of Hamas and that such payments and messaging supported Hamas’s”

   terrorist objectives). Again, this is not speculation. A former AP journalist wrote that “the only

   story Hamas wants coming out of Gaza is about the fundamental evil of the Zionist entity . . . .”

   See id., ¶ 38 (“AP has had a longstanding tacit agreement to serve as a critical part of Hamas’

   propaganda arm, in which both sides understood what is and is not acceptable in terms of reporting,

   and for which AP received special privileges and protections”).

          The AP protests that the SAC fails to allege that the AP knew the Hamas Photographers

   “would in some way contribute to” the October 7 attack. See Mot., p. 11. But the Court cannot

   ignore the SAC’s allegations and should decline the AP’s invitation to do so. The Hamas

   Photographers’ contribution to the October 7 attack was their illegal entry into Israel and their

   propagation of their terrorist ideology in furtherance of the Hamas Covenant. The AP

                                                          (see SAC, p. ¶ 53) but certainly knew about

   it after when it paid the Hamas Photographers for the 2023 version of plundered loot. Id., ¶¶ 74-

   101. Of course the AP was on notice that the Hamas Photographers would “in some way

   contribute” to the October 7 attack. That’s what the AP paid them to do!

          Because “the district court must accept the allegations of the complaint as true and must

   construe the facts alleged in the light most favorable to the plaintiff,” AP’s Motion to Dismiss

   should be denied on this basis. See Hunnings v. Texaco, Inc., 29 F.3d 1480, 1484 (11th Cir. 1994).

                ii.   Plaintiffs allege that the AP knowingly and substantially assisted the principal
                      violation.

          Next, Plaintiffs must allege that the AP “knowingly and substantially assisted” the principal

   violation. The SAC does so. See SAC, ¶¶ 131-137. Aiding and abetting does not require the



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    defendant to have known “all particulars of the primary actor’s plan.” Taamneh, 598 U.S. at 495.

    People who aid and abet a tort can be held liable for other torts that were “a foreseeable risk” of

    the intended tort. See id. at 496. Remote support can still constitute aiding and abetting. See id.

    And the statutory text does not always demand a strict nexus between the alleged assistance and

    the terrorist act. See id. at 497; see also Bonacasa v. Standard Chartered PLC, 2023 WL 7110774,

    at *10 (S.D.N.Y. Oct. 27, 2023) (finding that the plaintiffs sufficiently stated a JASTA aiding and

    abetting claim against a bank and holding that where the plaintiffs allege affirmative misfeasance,

    rather than merely passive nonfeasance, Taamneh requires a much less significant showing of

    scienter and assistance, and it does not require as close a nexus between the defendant’s actions

    and the attacks against the plaintiffs’ family members).

           With this framework in mind, each of the six Halberstam factors are met here. “The first

    factor, nature of the act encouraged, assesses whether the alleged aid would be important to the

    nature of the injury-causing act—here, a series of terrorist attacks.” Zobay, 695 F. Supp. 3d at 348.

    (internal quotations omitted). The terrorist act that was committed here for which Plaintiffs seek

    recompense is the Hamas Photographers’ unlawful infiltration into Israel, their contribution to the

    terror invoked that day, and their dissemination of Hamas propaganda in furtherance of the Hamas

    Covenant. It cannot seriously be contended that the AP’s payment –                              – for

    these Hamas Journalists to invade Israel and memorialize their misdeeds was not “important.”

           Plaintiffs allege that the AP paid the Hamas Photographers for the real time images of

    Israeli hostages being taken into Gaza (id., ¶¶ 8-9), which constitutes financial support to Hamas,

    and has been paying them for years (id., ¶ 11; see Honickman v. BLOM Bank SAL, 6 F.4th 487,

    500 (2d Cir. 2021) (“[I]f a plaintiff plausibly alleges the general awareness element, she does not

    need to also allege the FTO actually received the funds”); see also id., ¶¶ 8, 10-11, 14, 63, 91, 102,




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    104, 107, 112, 114, 126 (generally alleging that the AP knowingly paid for photographic and video

    footage of the terrorist attack that was used to glorify and promote and further the interest of

    Hamas)). The AP paid the Hamas Photographers for photographs so regularly, over a period of

    years, that Eslaiah was described as being with the AP “full time” and work with the others had

    become standard practice. See id., ¶¶ 15, 50, Ex. A.

                                                      See id., ¶ 53, Ex. D. The AP enabled the Hamas

    Photographers to disseminate their malign views via a news platform and under the auspices and

    with the marks and indicia of a mainstream news source. See id., ¶ 59; see generally Burns Report.

            Additionally, Plaintiffs allege that on October 7, the Hamas Photographers joined the mass

    of terrorists (                                                   ), were embedded among the throng

    of Hamas terrorists murdering and kidnapping Israelis, and their presence added to the numerical

    force of the Hamas terrorists, contributed to the terror that civilians felt, and increased the difficulty

    for Israel to address and respond to the terrorist attack. See id., ¶¶ 4, 53, 68-70, 90, 103, Ex. D. The

    participation of the Hamas Photographers was conscious and voluntary, they aided and abetted

    infiltration of Israel, provided material promotional and propaganda support via their photos,

    videos, and social media posts, used their cameras to further dehumanize the suffering victims,

    and broadcasted content glorifying the attack and generated support for Hamas sustaining its terror

    operations. See id., ¶¶ 70-86, 88. The AP profited from its terrorist photographer’s participation in

    the massacre through its publication of the “exclusive” images under the false pretense that they

    came from neutral sources, for which it certainly paid a premium, effectively funding and

    substantially supporting a terrorist organization (id., ¶¶ 10, 116).

            Financial support is “indisputably important” to the operation of a terrorist organization,

    and any money provided to the organization may aid its unlawful goals. See Zobay, 695 F. Supp.




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    3d at 349 (citing Gonzalez v. Google, 2 F.4th 871, 905 (9th Cir. 2021)). The propaganda support

    services AP provides to Hamas are also vital, and are not excluded under JASTA, which extends

    to all forms of “substantial assistance.” 18 U.S.C. § 2333(d)(2). It does not limit liability to

    specified types of support, and it does not create any safe harbors for propaganda services or any

    other type of conduct. By the plain terms of the text, so long as the support is “substantial,” the

    type of support is immaterial. Courts will also consider the blameworthiness of the assisted act,

    and reason that culpability for the same amount of assistance would increase as either the

    blameworthiness or the seriousness of the tortious acts aided increases. See Zobay, 695 F. Supp.

    3d at 349. Because Hamas’s terrorist campaign was extraordinarily blameworthy, even relatively

    trivial aid could count as substantial. See id. Thus, this factor weighs in favor of finding substantial

    assistance.

            Plaintiffs also alleged facts sufficient to meet the second factor – the amount of assistance

    provided to the wrongdoer. Unlike in Taamneh, the assistance the AP provided is not generally

    available to the public, and Hamas’s ability to benefit was not merely incidental to the availability

    of a preexisting platform. Instead, a primary form of the AP’s aid to Hamas was money. “The

    Supreme Court has recognized that ‘[m]oney is fungible’ and that foreign terrorist organizations

    ‘do not maintain legitimate financial firewalls between those funds raised for civil, nonviolent

    activities, and those ultimately used to support violent, terrorist operations.’” Id. (citing Holder v.

    Humanitarian L. Project, 561 U.S. 1, 31 (2010)). Further, a plaintiff need not allege that a

    defendant assisted a foreign terrorist organization directly, although here, the payments were made

    directly to members of Hamas. See Bernhardt v. Islamic Republic of Iran, 47 F.4th 856, 871 (D.C.

    Cir. 2022). Moreover, Plaintiffs alleged that the AP legitimized and incentivized the Hamas

    Photographers in crossing the border into Israel on October 7 due in part, to the longstanding




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    relationship and standard practice of expectation of payment. See SAC, ¶¶ 7, 11, 15, 50, 53, 69,

    103, 107, 112, 121, Ex. D. Plaintiffs’ allegations are sufficient for the second factor to weigh

    towards substantiality. See Zobay, 695 F. Supp. 3d at 349.

           As to the third factor (the AP’s presence at the time of the tort), Plaintiffs have alleged that

    the Hamas Photographers participated in the October 7 terrorist attack, but of course the AP

    “corporation” was not present. See SAC, ¶¶ 9, 53, 68-85, 88, 89, 91, 96-100, 103, 106, 110-111.

    While the AP disputes whether the Hamas Photographers’ presence can be imputed to the AP, the

    AP’s corporate absence does not defeat the prima facie showing of substantial assistance

    (Bonacasa, 2023 WL 7110774, at *5) as this third factor is not normally entitled to much weight.

    See Zobay, 695 F. Supp. 3d at 350. Further, because corporations (such as the AP) cannot be

    physically present for an act of international terrorism, presence might be understood in a

    transactional sense, which would include involvement with the terrorist group before and leading

    up to the relevant attack. See id. Here, Plaintiffs alleged that the AP had been funding and paying

    these Hamas affiliates for years in exchange for their photographs.

           Plaintiffs have also alleged sufficient facts to meet the fourth factor – the AP’s relation to

    the principal tortious actor. Plaintiffs alleged the AP had a direct relationship with the Hamas

    Photographers it funded, and that the Hamas Photographers directly participated in the October 7

    attacks. See SAC, ¶¶ 9, 14-15, 49-50, 53, 68-85, 88-89, 91, 96-100, 103, 107, 110.

           The fifth factor, state of mind, assesses whether the defendant’s conduct “evidences a

    deliberate long-term intention to participate in an ongoing illicit enterprise.” See Zobay, 695 F.

    Supp. 3d at 350 (citing Halberstam, 705 F.2d at 484, 488). Here, Plaintiffs alleged that the AP

    knew that the Hamas Photographers were affiliated with and had a standard practice of providing

    support to Hamas. See SAC, ¶¶ 9, 11, 14-15, 50, 59, 63, 69, 103, 107, 112, 121.




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           Finally, the sixth factor assesses the defendant’s duration of assistance. This factor goes to

    the quality and extent of their relationship and the amount of aid provided. See Zobay, 695 F. Supp.

    3d at 350 (citing Halberstam, 705 F.2d at 484). Plaintiffs allege that for years, the AP has paid and

    continues to pay the Hamas Photographers for their photographs and videos and that these

    payments are a direct funding source for Hamas. See SAC, ¶¶ 11, 14-15, 63, 105. This factor

    weighs in favor of finding substantial assistance where, as here, the allegations do not describe a

    one-off transaction, but a set of enduring, carefully cultivated relationships consisting of scores of

    transactions over a period of years. See Zobay, 695 F. Supp. 3d at 351.

           Collectively, the SAC’s allegations explain how the AP substantially assisted the Hamas

    Photographers. As alleged in the SAC, the AP’s conduct was “conscious, voluntary, and culpable”

    See Taamneh, 598 U.S. at 493. The AP was not an “innocent bystander,” nor did it demonstrate

    “mere omissions, inactions, or nonfeasance.” See id. at 488-89. The AP understood its own

    “actions and the tortious conduct” it assisted. See id. at 504.

           The Zobay case is instructive. In Zobay, the plaintiffs were the victims of terrorist attacks

    and their families who brought claims against several corporate defendants alleged to have aided

    and abetted the foreign terrorist organizations that perpetrated the attacks. See 695 F. Supp. 3d at

    314. The Zobay court held that the plaintiffs could state a JASTA aiding-and-abetting claim against

    a multinational telecommunications company that provided civilian companies, which were

    known to be affiliated with terrorists, funds and supplies that could be and were used in terrorist

    attacks (there, cell phones, which could be used as triggers for weapons) because it was foreseeable

    that the “goods and funds would flow [from the civilian companies] to proxy groups and that acts

    of terror would result.” See id. at 346. Similarly, here, it was foreseeable that AP’s payments to




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    Hamas Photographers would encourage, aid and abet their entrance into Israel and their

    perpetuation of Hamas propaganda.

            Moreover, here, payments were made directly to Hamas members (as opposed to “civilian

    companies”). And, while the AP was not paying for grenades or rocket launchers, it was

    compensating the Hamas Photographers for a different kind of terrorist act: a reward for illegally

    invading Israel and the dissemination of terrorist propaganda. In Article 29 of the Covenant,

    Hamas makes explicitly clear that publishing information on its acts of terrorism are an essential

    component of its activities. See Burns Report, p. 7. Hamas admits that by publishing information

    about its activities, the intent is to influence people and “equip” others to “perform their role in the

    decisive battle of liberation.” See id.

            Plaintiffs alleged sufficient facts to support the six factors for substantial assistance. The

    AP’s Motion to dismiss Count I must be denied.

                B. The SAC sufficiently alleges claims for direct liability under ATA and JASTA.

            Plaintiffs’ two claims for direct liability, provision of material support to terrorists under

    Section 2339A (Count II) and provision of material support and resources to an FTO under Section

    2339B(a)(1) (Count III) are properly pled. Under the ATA, Plaintiffs may pursue a civil cause of

    action for injury “by reason of an act of international terrorism.” 18 U.S.C. § 2333(a). “Liability

    under the ATA has three elements: (1) unlawful action . . . (2) the requisite mental state, and (3)

    causation.” In re Chiquita Brands Int'l, Inc., 284 F. Supp. 3d 1284, 1304 (S.D. Fla. 2018).

              i.    Plaintiffs sufficiently alleged that the AP committed an act of international
                    terrorism.

            The purpose of the ATA was to provide a new civil cause of action for international

    terrorism that provides extraterritorial jurisdiction over terrorist acts abroad against United States




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    nationals. See Weiss v. Nat'l Westminster Bank PLC, 768 F.3d 202, 207 (2d Cir. 2014). The

    relevant statute defines “international terrorism” as activities that:

            (A) involve violent acts or acts dangerous to human life that are a violation of the
            criminal laws of the United States or of any State, or that would be a criminal
            violation if committed within the jurisdiction of the United States or of any State;
            (B) appear to be intended—
                    (i) to intimidate or coerce a civilian population;
                    (ii) to influence the policy of a government by intimidation or coercion; or
                    (iii) to affect the conduct of a government by mass destruction,
                    assassination, or kidnapping; and
            (C) occur primarily outside the territorial jurisdiction of the United States, or
            transcend national boundaries in terms of the means by which they are
            accomplished, the persons they appear intended to intimidate or coerce, or the
            locale in which their perpetrators operate or seek asylum.

    18 U.S.C. § 2331(1). The civil liability provisions of the ATA incorporate by reference a broad

    range of state and federal crimes that may qualify as “act(s) of international terrorism” if a plaintiff

    can show that the defendant committed a predicate crime which satisfies all criteria listed in §

    2331(1) (A) through (C). See In re Chiquita, 284 F. Supp. 3d at 1304.

            In the Court’s Order dismissing Plaintiff’s first Amended Complaint [D.E. 98] (the

    “Order”), the Court acknowledged that “the provision of material support to a designated terrorist

    organization in violation of § 2339B can certainly satisfy . . . part of the statutory definition” of

    “international terrorism.” See Order, p. 22; see also Linde v. Arab Bank, PLC, 882 F.3d 314, 326

    (2d Cir. 2018). However, the Court stated that the AP’s act “must also involve violence or

    endanger human life” and “must appear to be intended to intimidate or coerce a civilian population

    or to influence or affect a government.” See id.; see also 18 U.S.C. § 2331(1)(A)-(B). The SAC

    alleges that the AP’s actions do endanger human life and appear to be intended to intimidate a

    civilian population.

            The Court previously dismissed Plaintiffs’ direct liability claim relying in part on Kaplan

    v. Jazeera, 2011 WL 2314783 (S.D.N.Y. June 7, 2011). See Order, p. 23. In Kaplan, the court



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    dismissed a direct liability claim against Al Jazeera for publishing “information that may have

    been helpful to Hezbollah in achieving its organizational goals.” See Kaplan, 2011 WL 2314783,

    at *4. Specifically, the Kaplan Court dismissed the direct liability claim because “the plaintiffs

    offered no facts to suggest that broadcasting the accurate news of rocket attacks would in all

    likelihood assist the organization in accomplishing its violent goals.” See id. at *6. The Court did

    not establish a bright line or wholesale rule that the publishing of information is insufficient to

    qualify as an “act of international terrorism” and, unlike Boim (discussed infra), there was no

    allegation in Kaplan that payments were made. Finally, as discussed in section II. A. ii., supra, the

    Burns Report directly links the payments made here to the commission of an overt act of terrorism.

            For years, the AP paid the Hamas Photographers for photos, incentivizing their continued

    performance. See SAC, ¶¶ 8, 11, 15, 53, 63, 103, 107, 112. Accordingly, on October 7, these

    Hamas Photographers illegally crossed the border to take part in the terrorism that ensued. See id.,

    ¶¶ 8-10, 13, 53, 68-85, 88-91, 96-100, 103, 106-107, 110, 111. It is clear that they entered Israel

    based on the understanding that the AP would pay them to do so, and they would enjoy the added

    benefit of fulfilling their commitment to the Hamas Covenant. The AP published photos taken

    with the intention of intimidating and influencing a civilian population. See id. This fits squarely

    within the confines of the statute. The AP knew that by publishing these photos it would

    exacerbate Hamas’s terrorist activities, influencing millions online. See Burns Report, p. 16

    (“Hamas has intentionally sought to use the media to promote its agenda and garner support for its

    terror”). These allegations meet the pleading requirements here. See Jackson v. BellSouth

    Telecomms., 372 F.3d 1250, 1262 (11th Cir. 2004).

           Respectfully, Plaintiffs disagree with the Court’s decision not to apply the standard set

    forth in Boim v. Holy Land Found. for Relief & Dev., 549 F.3d 685 (7th Cir. 2008). In light of the




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    Court’s Order dismissing Plaintiffs’ first Amended Complaint, the SAC alleges that, the AP paid

    Eslaiah and the other photographers for years, which incentivized their continued performance in

    taking photos, incentivized their illegal entry into Israel, incentivized their participation in violent

    acts intended to intimidate the Jewish people, and then published those photographs in accordance

    with Hamas’s Covenant. See SAC, ¶¶ 8-10, 13, 15, 53, 63, 68-85, 88-91, 96-100, 103, 106-107,

    110-111). Of course, if the AP had paid Eslaiah to build a rocket launcher, and that rocket launcher

    was used to kill people on October 7, those payments would be enough to constitute an act of

    international terrorism. The payments made here are not any more of an “arms-length” business

    transaction than payments made to a weapons manufacturer. See id., ¶¶ 8, 15, 53, 63, 103, 107,

    112; see Order, p. 25.

             ii.   Plaintiffs sufficiently alleged that the AP had the requisite mental state for liability.

           Section 2339A criminalizes the provision of “material support or resources” “knowing or

    intending that they are to be used in preparation for, or in carrying out,” a violation of one or more

    of the terrorism-related crimes enumerated in the statute. See In re Chiquita, 284 at 1307–08

    (quoting 18 U.S.C. § 2339A (a) (enumerating 18 U.S.C. 2332 (a) (1))). Section 2339B “broadly

    criminalizes the provision of material support to formally designated foreign terrorist

    organizations, and requires knowledge about the organization’s connection to terrorism, but not a

    specific intent to further its terrorist activities.” See id. at 1309 (emphasis added). Plaintiffs have

    sufficiently alleged the mens rea required for both.

           Plaintiffs alleged that the AP knowingly gave money to the photographers, who AP knew

    were members of Hamas. See SAC, ¶¶ 9, 11, 14, 15, 50, 59, 63, 69, 103, 107, 112, 121. In giving

    the money to Hamas members, AP knew that they would be used in preparation for, or in order to,

    carry out some form of terrorism. See id. “[A] material support violation under 2339A, by




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    definition, would foreseeably enhance the ability of a known terrorist group to inflict more terror,

    and would, for this reason alone, objectively appear to be intended to” do one of the terrorist

    activities enumerated in 18 U.S.C. § 2331(1). See In re Chiquita, 284 F. Supp. 3d at 1307. As

    outlined in Boim, 549 F.3d at 694:

           A knowing donor to Hamas—that is, a donor who knew the aims and activities of
           the organization—would know that Hamas was gunning for Israelis ... that
           Americans are frequent visitors to and sojourners in Israel, that many U.S. citizens
           live in Israel ... and that donations to Hamas, by augmenting Hamas's resources,
           would enable Hamas to kill or wound, or try to kill, or conspire to kill more people
           in Israel. And given such foreseeable consequences, such donations would appear
           to be intended... to intimidate or coerce a civilian population or to affect the conduct
           of a government by ... assassination.

    As in Boim, Plaintiffs alleged that AP knowingly gave money to Hamas which (foreseeably) would

    “enhance [its] ability . . . to inflict more terror.” See In re Chiquita, 284 F. Supp. 3d at 1307.

           Section 2339B “broadly criminalizes the provision of ‘material support’ to formally

    designated foreign terrorist organizations, and requires knowledge about the organization's

    connection to terrorism, but not a specific intent to further its terrorist activities.” Id. at 1309

    (emphasis added). As discussed in the context of Section 2339A above, Plaintiffs pled that the AP

    paid these Hamas Photographers, knowing that they were a part of Hamas, and that Hamas is an

    FTO. See SAC, ¶¶ 9, 11, 14, 15, 49, 50. By continuing to pay the Hamas Photographers for content

    taken during the commission of a terrorist attack, the AP intended for these “journalists” to use

    these payments to continue acting in the same manner in order to capture the same “purchasable”

    content by the AP. See id., ¶¶ 14, 15, 50, 53, 59, 63, 68-85, 88-89, 91, 96-100, 103, 107, 110, 112.

    Even after it was clear that the Hamas Photographers illegally crossed the border into Israel, the

    AP purchased the photos and continued to purchase photos. See id.

           The AP’s First Amendment argument in this context is nothing more than a red herring.

    This case is not about merely “reporting the news.” This case is about the AP’s knowledge of its



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    photographers’/terrorists’ association with Hamas and payments sent to these people for the

    commission of terrorist acts. The AP cites to Kaplan, 2011 WL 2314783, at *6, for the proposition

    that “news reporting ‘is a far cry from donating money to a terrorist organization.’” See Mot., p.

    16. But that’s precisely what the AP did – it paid money to known terrorists. See SAC, ¶¶ 9, 11,

    14-15, 49-50. The AP’s publishing of the terrorists’ photographs only strengthens Plaintiffs’

    claims that the AP leveraged its terrorist connections for content and profit.

            iii.   Plaintiffs sufficiently alleged that the AP’s actions proximately caused Plaintiffs’
                   injuries.

           Courts in this district apply the flexible “substantial factor” test when determining

    proximate cause. The “substantial factor” test requires a plaintiff to prove that the defendant's

    alleged act or omission was a material and substantial contributing cause to the injury. See In re

    Chiquita, 284 F. Supp. 3d at 1311 (citations omitted). “In this context, the term ‘substantial’ is

    used to denote the fact that the defendant's conduct has such an effect in bringing about the harm

    as to lead reasonable men to regard it as a cause, i.e., that the defendant's conduct had more than a

    remote or trivial impact on the circumstances leading up to the cause of the jury.” Id.

           The “substantial factor” analysis focuses on the likelihood or probability that a defendant's

    act or omission led or contributed to producing the harm; in the context of a material support

    violation, the material factors attend the amount and timing of the defendant's payments relative

    to the terror attacks which caused the injury. See id. at 1313. Under this more flexible “substantial

    factor” yardstick, considerations of temporal proximity and the magnitude of support are assessed

    on a fact-specific and ad hoc basis. A determination on proximate cause at this stage is improper

    because on a motion to dismiss, this Court must accept all allegations as true and view them in a

    light most favorable to Plaintiffs. See id.; Scents Corps., 2023 WL 2664260 at *3.




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              Nevertheless,   Plaintiffs   have   pled    that   the   AP’s   actions   in   paying   these

    photographers/terrorists and in providing a worldwide platform for Hamas to spread its

    propaganda, and get paid for it, is the proximate cause of Plaintiffs’ injuries because the monetary

    support and platform assisted Hamas in recruiting, radicalizing, gaining international support and

    funding, assisted the Hamas Photographers in joining the mass of terrorists crossing the border

    into Israel effectuating the October 7 attacks. See SAC, ¶¶ 8-11, 13, 51, 53, 63, 68-85, 88-89, 96-

    100, 103-104, 110, 112; see also Chaparro v. Carnival Corp., 693 F.3d 1333, 1337 (11th Cir.

    2012) (“The plausibility standard calls for enough fact to raise a reasonable expectation that

    discovery will reveal evidence of the defendant's liability”).

              The SAC’s allegations of causation meet the plausibility standard, and the foreseeability

    of the AP’s acts is a question for the jury. The AP’s Motion to dismiss Counts II and III must be

    denied.

                 C. The SAC sufficiently alleges a claim for facilitating and furthering terrorism
                    under Fla. Stat. § 772.13(1) (Count IV).

              The Florida Anti-Terrorism Act, Florida Statute § 772.13(1), makes “terrorism” actionable.

    “Terrorism” is intended to (1) intimidate, injure, or coerce a civil population; (2) influence the

    policy of a government by intimidation or coercion; or (3) affect the conduct of government

    through destruction of property, assassination, murder, kidnapping or aircraft piracy.” Marron v.

    Moros, 2023 WL 357592, at *3 (S.D. Fla. Jan. 23, 2023) (quoting § 775.30(1)(b), Fla. Stat.)

    (internal quotations omitted). Section 775.30(1)(b) defines terrorism in a manner nearly identical

    to 18 U.S.C. § 2331(1). Therefore, Plaintiffs’ claim for direct liability under Florida’s ATA should

    be upheld for similar reasons to those under the federal ATA. See supra Section II. B. Therefore,

    the AP’s Motion to dismiss Count IV must be denied.




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                D. The AP’s material support of terrorism is not protected by the First
                   Amendment and AP’s First Amendment defense is inapplicable to this case.

           The AP argues that even assuming that all of Plaintiffs’ allegations are true (which it admits

    the Court must do at this stage), the First Amendment legally protects the AP’s ability to get

    pictures from anyone they want, however they want, including and not limited to buying them

    from terrorists engaged in terrorism. As the AP argues, “[a]t the heart of the First Amendment is

    the recognition of the fundamental importance of the free flow of ideas and opinions on matters of

    public interest and concern.” See Mot., p. 23 (quoting Hustler Magazine, Inc. v. Falwell, 485 U.S.

    46, 50 (1988)). But here, Plaintiffs seek to hold the AP liable, not for its “flow of ideas and opinions

    on matters of public interest,” but for its material support to terrorism.

           In Holder, 561 U.S. at 25-26, the Supreme Court rejected a First Amendment challenge to

    Section 2339B. In prohibiting support in the form of training, expert advice or assistance, service,

    and personnel to FTOs, Section 2339B does not violate the freedom of speech. Id. at 14, 39.

    Importantly, “[t]he statute does not prohibit independent advocacy or expression of any kind.” Id.

    at 26. Section 2339B does not suppress ideas or opinions in the form of “pure political speech.”

    Id. Rather, “[it] prohibit[s] ‘material support,’ which most often does not take the form of speech

    at all. And when it does, the statute is carefully drawn to cover only a narrow category of speech

    to, under the direction of, or in coordination with foreign groups that the speaker knows to be

    terrorist organizations.” Id. Congress’s prohibition on providing material support to FTOs “is

    based on a finding that the [FTOs] are so tainted by their criminal conduct that any contribution to

    such an organization facilitates that conduct.” Id. at 7. Even if material support were meant to

    promote “peaceable, lawful conduct” (which is not what Plaintiffs alleged here) it can further

    terrorism by foreign groups in multiple ways. Id. at 30. “Material support” is a valuable resource

    by definition and frees up other resources within the organization that may be put to violent ends.



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    Id. It also helps lend legitimacy to foreign terrorist groups—legitimacy that makes it easier for

    those groups to persist, to recruit members, and to raise funds—all of which facilitate more terrorist

    attacks. See id. “The material-support statute is, on its face, a preventive measure—it criminalizes

    not terrorist attacks themselves, but aid that makes the attacks more likely to occur.” Id. at 35.

           The statute provides that “[n]othing in this section shall be construed or applied so as to

    abridge the exercise of rights guaranteed under the First Amendment to the Constitution of the

    United States.” See 18 U.S.C. § 2339B(i). “[I]n effectuating its stated intent not to abridge First

    Amendment rights, see § 2339B(i), Congress has also displayed a careful balancing of interests in

    creating limited exceptions to the ban on material support, excluding medicine and religious

    materials, for example. See § 2339A(b)(1).” Holder, 561 U.S. at 36. “[T]he Legislature’s superior

    capacity for weighing competing interests means that we must be particularly careful not to

    substitute our judgment of what is desirable for that of Congress.” Id. (internal quotations omitted).

    Further, “Congress has avoided any restriction on independent advocacy, or indeed any activities

    not directed to, coordinated with, or controlled by foreign terrorist groups.” Id.

           This case is not about merely “reporting the news.” Paying a known terrorist for pictures

    that he took while committing an act of terror and then using those pictures to knowingly further

    the FTO’s propaganda message is material support in the form of payments and services that is

    not protected activity under the First Amendment. Further, to the extent the “news” came from a

    terrorist source paid for in violation of the ATA, the AP becomes an arm of Hamas propaganda.

    And as Plaintiffs alleged:

           Propaganda, especially when it is promoted via a major news agency and framed
           under its imprimatur, is critical to terrorist entities. As terrorism experts have
           explained, the leadership of Hamas are fully aware that they cannot prevail against
           the State of Israel via conventional military means and must therefore use their
           agents to propagate falsehoods that demonize Israel, glorify the ‘resistance,’ and at
           the same time, infantilize itself and its members as victims retaliating against a



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           mythical settler-colonial oppressor image of the Jewish State. See SAC, ¶ 37.

           In sum, Plaintiffs have alleged, and at this stage the Court must accept as true, that the AP

    knowingly acted in coordination with Hamas. See id., ¶¶ 9, 11, 14-15, 50, 59, 63, 69, 103, 107,

    112, 121. As explained above, when material support takes the form of speech, the ATA is

    carefully drawn to cover a narrow category of speech “in coordination with” FTOs that the speaker

    knows to be terrorist organizations. The AP’s perpetuation of Hamas propaganda and terror

    constitutes material support which is not protected by the First Amendment. The cases the AP

    relies on in support of its First Amendment rights are inapposite. As explained above, the First

    Amendment is not a defense to ATA claims and none of the cases cited by AP (aside from Holder

    which supports Plaintiffs’ position) are ATA cases.2

           There is an additional independent reason why AP’s broadcasting is not protected by the

    First Amendment. As the AP admits in its Motion (see Mot., p. 24), the First Amendment does not



    2
      See Hustler Magazine, Inc., 485 U.S. 46 (First Amendment prohibited public figure from
    recovering damages for intentional infliction of emotional distress where newspaper published a
    parody of public figure); Bowens v. Superintendent of Miami S. Beach Police Dept., 557 Fed.
    Appx. 857, 863 (11th Cir. 2014) (citizens have a First Amendment right, subject to reasonable
    time, manner and place restrictions, to record police conduct); Harte-Hanks Communications, Inc.
    v. Connaughton, 491 U.S. 657 (1989) (standard for public figure defamation cases); New York
    Times Co. v. Sullivan, 376 U.S. 254 (1964) (libel action brought by a public official against critics
    of his official conduct requires proof statement was made with actual malice); Talley v. Time, Inc.,
    923 F.3d 878 (10th Cir. 2019) (applying actual malice standard to false light invasion of privacy
    claim in First Amendment context); St. Amant v. Thompson, 390 U.S. 727 (1968) (applying actual
    malice standard to claim for defamatory publication in First Amendment context); Philadelphia
    Newspapers, Inc. v. Hepps, 475 U.S. 767 (1986) (holding that where a newspaper publishes speech
    of public concern, a private-figure plaintiff cannot recover damages for defamation without also
    showing that the statements at issue are false); Associated Press v. United States, 326 U.S. 1 (1945)
    (member publishers of AP are engaged in business for profit exactly as are other businessmen and
    all are covered by the Sherman Act alike). And some of the cases relied on by AP in its Motion,
    have nothing to do with the press. See Snyder v. Phelps, 562 U.S. 443 (2011) (speech of church
    members who picketed near funeral of military service member was protected under the First
    Amendment); Counterman v. Colorado, 600 U.S. 66, 69 (2023) (First Amendment does not protect
    true threats of violence where the defendant who stalked the victim). This Opposition distinguishes
    the remainder of the cases cited by AP below.


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    protect advocacy of violence or incitement where the statements were intended to produce

    imminent disorder. See Counterman v. Colorado, 600 U.S. 66, 73, 76 (2023). Here, Plaintiffs

    alleged that the Hamas Photographers utilizing the AP’s resources and platform broadcasted

    content glorifying the terrorist attack, promoting the goal of the destruction of the State of Israel

    around the world, and generating support for Hamas sustaining its terror operations after October

    7. See SAC, ¶ 8 (alleging that the “AP paid for the real time images of Israeli hostages being taken

    into Gaza despite having been warned well in advance that at least one of these so-called

    “journalists” were in fact Hamas affiliates, and despite the clear indications that they were all

    functioning as full participants of the Hamas terrorist squad that conducted the October 7th attack,

    and not as AP chose to pretend as journalists”), ¶ 38; ¶ 88, ¶ 104, ¶ 106 (alleging that the photos

    and footage recorded by the Hamas Photographers in real time galvanized the attack and

    encouraged the further participation of Gazans (including the taking of human “trophies”) and

    delayed their plan to escape back to Gaza, thereby causing the deaths and kidnappings of additional

    innocent victims in Israel). Accordingly, at the motion to dismiss stage, Plaintiffs have pled that

    the AP’s conduct constitutes material support for which the First Amendment is not a defense.

            The AP, relying on Bartnicki v. Vopper, 532 U.S. 514 (2001), claims that “the [Supreme]

    Court has held that a news organization cannot be punished for publishing truthful documents

    relating to a matter of public concern, even if it knows the source of the documents obtained them

    illegally, so long as it did not participate in the illegality.”3 Mot., p. 24. But Bartnicki supports

    Plaintiffs’ position. Here, Plaintiffs pled that the AP participated in the illegal acts:

            Our holding, of course, does not apply to punishing parties for obtaining the
            relevant information unlawfully. It would be frivolous to assert—and no one does
            in these cases—that the First Amendment, in the interest of securing news or
    3
     In Bartnicki, the Supreme Court held that application of a wiretapping act against the defendants
    violated their free speech rights since the tape concerned a matter of public importance and the
    defendants had played no part in the illegal interception. 532 U.S. at 525, 535.


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           otherwise, confers a license on either the reporter or his news sources to violate
           valid criminal laws. Although stealing documents or private wiretapping could
           provide newsworthy information, neither reporter nor source is immune from
           conviction for such conduct, whatever the impact on the flow of news.

    Bartnicki, 532 U.S. at 532, n. 19 (emphasis added). The First Amendment does not confer a license

    on the AP to violate the ATA. Further, Plaintiffs do not assert liability for the AP’s publication of

    news like the defendants did in Bartnicki, Plaintiffs assert liability for the AP’s material support

    of terrorism in the form of payments and propaganda of Hamas’s terrorism which encouraged

    further participation of terrorists on October 7.

           The AP, relying on Buckley v. Valeo, 424 U.S. 1 (1976), also claims that “payments made

    in furtherance of speech are themselves protected by the First Amendment.” See Mot., p. 25. The

    AP completely misstates Buckley’s holding.4 Buckley presented a constitutional challenge to the

    Federal Election Campaign Act. See id. at 6. There, appellants claimed that “limiting the use of

    money for political purposes constitutes a restriction on communication violative of the First

    Amendment, since virtually all meaningful political communications in the modern setting involve

    the expenditure of money.” Id. at 11 (emphasis added). In Buckley, the Supreme Court held that

    provisions limiting expenditures by candidates on their own behalf violated the candidates’ rights

    to freedom of speech. Id. at 23-38. The Court noted that “there is practically universal agreement

    that a major purpose of that [First] Amendment was to protect the free discussion of governmental

    affairs . . . of course includ(ing) discussions of candidates” and “the First Amendment protects

    political association as well as political expression.” Id. at 14, 39 (explaining that a primary effect


    4
      The AP argues that the Supreme Court has “recognized that ‘virtually every means of
    communicating ideas in today’s mass society requires the expenditure of money.’” Mot., p. 25
    (citing Buckley, 424 U.S. at 19). What the AP omits is that this quote refers to “political
    communication during a campaign” and “political speech.” Buckley, 424 U.S. at 19. The AP also
    omits that in Buckley, the Supreme Court found that provisions limiting individual contributions
    to campaigns were constitutional despite First Amendment objections. See id. at 29. Provisions
    limiting payments made in furtherance of speech are not always protected. See generally id.


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    of the expenditure limitations is to “restrict the quantity of campaign speech by individuals, groups,

    and candidates” and that political expression are “at the core of our electoral process and of the

    First Amendment freedoms.”). Thus, Buckley’s holding relates to payments of monies in the

    context of political campaigning, not in the context of providing material support for terrorism.

    Notably, the AP does not, and cannot argue, that payment to terrorists is protected by the First

    Amendment.

           The AP also relies on Coral Ridge Ministries Media, Inc. v. Amazon.com, Inc., 6 F.4th

    1247 (11th Cir. 2021), to argue that choosing which charities should receive donations is protected

    speech. See Mot., p. 25. In Coral Ridge, the court concluded that donating money “qualifie[d] as

    expressive conduct” and that Amazon was conveying some sort of message about the organizations

    it wishes to support. Id. at 1254. But here, Plaintiffs do not allege that Hamas is a charity or that

    the AP made donations to Hamas. Instead, Plaintiffs allege that Hamas is a FTO (see SAC, ¶¶ 11,

    17) and that the AP paid Hamas for years. Id., ¶¶ 11, 14-15, 63, 105. The AP does not and cannot

    claim that providing material support to terrorism is “expressive conduct” in the context of the

    First Amendment. Thus, Coral Ridge is inapposite.

           Accordingly, the AP’s Motion must be denied because the AP’s material support of

    terrorism (in the form of payment and a propaganda arrangement) is not protected by the First

    Amendment.

    III.   CONCLUSION

           WHEREFORE, Plaintiffs Noach Newman, Adin Gess, and Natalie Sanandaji, respectfully

    request that the Court deny Defendant The Associated Press’s Motion to Dismiss Second Amended

    Complaint and Incorporated Memorandum of Law, and grant such other and further relief as the

    Court deems just and proper.




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    Dated: February 21, 2025                 Respectfully submitted,

                                             MARK MIGDAL & HAYDEN
                                             80 S.W. 8th Street, Suite 1999
                                             Miami, Florida 33130
                                             Tel: (305) 374-0440

                                             By: s/ Etan Mark
                                             Etan Mark, Esq.
                                             Florida Bar No. 720852
                                             etan@markmigdal.com
                                             Maia Aron, Esq.
                                             Florida Bar No. 17188
                                             maia@markmigdal.com
                                             Annie D. Rosenthal, Esq.
                                             Florida Bar No. 1031335
                                             annie@markmigdal.com
                                             eservice@markmigdal.com

                                             - and -

                                             LAW OFFICE OF DAVID I. SCHOEN
                                             2800 Zelda Road, Suite 100-6
                                             Montgomery, AL 36106
                                             Telephone: (334) 395-6611
                                             E-Fax: (917) 591-7586

                                             /s/ David I. Schoen_______
                                             David I. Schoen, Esq.
                                             schoenlawfirm@gmail.com
                                             Pro Hac Vice

                                             - and –

                                             National Jewish Advocacy Center, Inc.
                                             1718 General George Patton Drive
                                             Brentwood, TN 37027
                                             Telephone: (800) 269-9895

                                             /s/ Mark Goldfeder_______
                                             Mark Goldfeder, Esq.
                                             mark@jewishadvocacycenter.org
                                             Pro Hac Vice

                                             - and -




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                                                           Goldfeder and Terry, LLC
                                                           666 Harless Place
                                                           West Hempstead, NY 11552
                                                           Telephone: (917) 495-5790

                                                           /s/ Bencion Schlager______
                                                           Bencion Schlager, Esq.
                                                           ben@goldfederterry.com
                                                           Pro Hac Vice

                                                           - and -

                                                           Groisman Law, PLLC
                                                           21500 Biscayne Blvd., Ste 600
                                                           Aventura, FL 33180
                                                           Telephone: (305) 323-5900

                                                           s/ Gabriel Groisman
                                                           Gabriel Groisman (Fla. Bar No. 25644)
                                                           gg@groisman.llc

                                                           Attorneys for Plaintiffs

                                     REQUEST FOR HEARING

           Pursuant to Local Rule 7.1(b)(2), Plaintiffs request that the Court set a hearing on the AP’s

    Motion to Dismiss Second Amended Complaint. A hearing would permit the parties to address the

    complexities of Plaintiffs’ claims under the Federal and State Anti-Terrorism Acts as well as the

    additional evidence included in the Second Amended Complaint. Plaintiffs estimate that the time

    required for argument would be one hour.

                                    CERTIFICATE OF SERVICE

           I hereby certify that I filed the foregoing document (including any attached exhibits and

    documents) electronically on the Court’s CM/ECF docket on February 21, 2025 which served

    same electronically upon all counsel of record.

                                                                     s/ Etan Mark
                                                                     Etan Mark, Esq.


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